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                               EXHIBIT 1



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 II

 12                                    SUPERIOR COURT OF CALIFORNIA

.13                                          COUNTY OF LOS ANGELES
                                                                            BC 56 0 9 2 4
 14

 15
      RYAN VIGIL, an individual, on
      behalf of himself and all others similarly
      situated,
                                                      l
                                                      )
                                                          CASE NO.:

                                                          CLASS ACTION
                                                      )
 16                                   Plaintiff,      )
                                                      )   COMPLAINT FOR VIOLATIONS OF:
 17

 18
                                vs.

      APPLIED NUTRITION, INC., and DOES I
                                                      l
                                                      )
                                                            1. Bus. & Professions Code §17200,
                                                               et seq.;
      through 50, inclusive,                          )      2. Cal. Civil Code §1750 et seq.;
 19                                                   )
                                      Defendants.     )
                                                      )      3. Breach of Express Warranty
20
                                                      )
21
                            l                             Judge:

22    ______________________l                             Courtroom:

23

24           Plaintiff RYAN VIGIL, on behalf of himself and all others similarly situated, complains and
25    alleges upon information and belief based, among other things, upon the investigation made by Plaintiff
26    by and through his attorneys, as follows:
27

28


                                       PLAINTIFF'S CLASS ACTION COMPLAINT



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 1                                                INTRODUCTION
 2            1.       Defendant distributes, markets, and sells “Libido-Max”, a line of over the counter dietary

 3    supplements for men which Defendant claims, via Libido-Max marketing, will enhance the sexual

 4    performance of its users. Defendant represents that the primary ingredients in Libido-Max include

 5    “Horny Goat Weed” (Epimedium sagittatum), “Maca powder,” “L-arginine,” “Ashwagandha powder,”

 6    “Tribulus extract” and “Soy.” Defendant also represents, via an extensive and uniform nation-wide

 7    advertising campaign, that Libido-Max “enhances [sexual] drive and desire,” “supports a strong, healthy

 8    libido,” and promotes “sexual performance and enjoyment.” Moreover, the packaging of Libido-Max

 9    states that the product is a “Doctor Developed Male Libido Formula that works FAST.” Defendant has

10    also represented, on the packaging of Libido-Max, that, “L-arginine may dilate blood vessels helping to

11    enhance penile blood flow.” See generally Exhibit, “A: Product Label.

12            2.       All available, reliable, scientific evidence demonstrates that Defendant’s Libido-Max

13    products have no efficacy at all regarding the sexual health and performance benefits of consuming

14    Libido-Max. In fact, even a cursory examination of reliable scientific evidence relating to Defendant’s

15    representations strongly indicates it is ineffective in strengthening the libidos of its users. Multiple valid

16    scientific studies have been conducted on the aforementioned primary ingredients in Libido-Max, and

17    these studies have revealed that the ingredients in question are not reliable means of strengthening libido,

18    or promoting sexual performance and enjoyment.

19            3.       On the Libido-Max product packaging, Defendant represents that research suggests L-

20    arginine, a primary ingredient of Libido-Max,”…may dilate blood vessels helping to enhance penile

21    blood flow. Good blood vessel function is an essential element of generating and maintaining erections.”

22    See product label, attached as Exhibit “A”. Through this representation, Defendant is strongly implying,

23    if not explicitly claiming, that Libido-Max is able to improve male sexual function and enjoyment.

24            4.       Moreover, on the very front of the Libido-Max packaging, Defendant states that the

25    product is able to “INCREASE BLOOD FLOW.” Id. When read in conjunction with Defendant’s

26    representation that enhanced penile blood flow is “essential” to producing and maintaining erections

27    (which is also listed on the product packaging), it is clear that by stating that Libido-Max

28    “INCREASE[S] BLOOD FLOW,” Defendant seeks to imply that consuming Libido-Max is able to

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 1    improve male sexual function, desire, performance and enjoyment.

 2            5.       Defendant conveys its deceptive representations to consumers through the use of various

 3    media platforms including its website and online promotional materials. More importantly, Defendant

 4    communicates its misleading representations about the efficacy of Libido-Max at the point of purchase.

 5    Misrepresentations about Libido-Max are prominently displayed on the front of the product’s

 6    packaging/labeling where it cannot be missed by consumers. The front of the Libido-Max product label

 7    states in bold print that the product, “ENHANCES(S) DRIVE & DESIRE,” “INCREASE[S] BLOOD

 8    FLOW,” and leads to “LONGER PERFORMANCE & STAMINA.” The front of the product label also

 9    states that Libido-Max is “FAST ACTING” The only reason a consumer would purchase Libido-Max is

10    to obtain the advertised sexual health and performance benefits, which Libido-Max does not provide.

11            6.       As a result of Defendant’s deceptive advertising and false representations regarding the

12    efficacy of Libido-Max, Plaintiff and the proposed class have purchased a product which does not

13    perform as represented and they have been harmed in the amount they paid for the product, which, in the

14    Plaintiff’s case is approximately $18.00 per 75 count bottle.

15            7.       Plaintiff brings this action on behalf of himself and other similarly situated consumers

16    who have purchased Defendant’s Libido-Max product to halt the dissemination of this false, misleading

17    and deceptive advertising message, correct the false and misleading perception it has created in the minds

18    of consumers, and obtain redress for those who have purchased this product. Based on violations of state

19    unfair competition laws and Defendant’s breach of express warranty, Plaintiff seeks injunctive and

20    monetary relief for consumers who purchased Libido-Max.

21                                              JURISDICTION AND VENUE
22            8.       Plaintiff is informed and believes that Defendant’s principal place of business is in Los

23    Angeles, California. Defendants have accepted credit cards for the transaction of business throughout

24    California, including the County of Los Angeles which has caused both obligations and liability of

25    Defendant to arise in the County of Los Angles.

26            9.       This Court has jurisdiction over Defendant and the claims set forth below pursuant to

27    Code of Civil Procedure §410.10 and the California Constitution, Article VI §10, because this case is a

28    cause not given by statute to other trial courts.

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 1           10.      The amount in controversy exceeds the jurisdictional minimum of this Court.

 2                                                    PARTIES
 3           11.      Plaintiff Ryan Vigil resides in San Diego County, California. In or around July of 2014,

 4    Plaintiff was exposed to and saw Defendant’s representations regarding the sexual health and

 5    performance benefits of Libido-Max by reading the Libido-Max product label in the CVS retail store

 6    located at 8831 Villa La Jolla Drive, La Jolla CA 92037. In reliance on the claims listed on the product

 7    label described herein and above, Plaintiff purchased the Libido-Max product at the previously described

 8    CVS retail store. He paid approximately $18.00 for the product. At the time, Plaintiff desired to enhance

 9    his sexual experience and enjoyment. He purchased Libido-Max believing it would provide the

10    advertised sexual health and performance benefits. As a result, Plaintiff suffered injury in fact and lost

11    money. Had Plaintiff been aware of Defendant’s misrepresentations and omissions, he would not have

12    purchased Libido-Max.

13           12.      Defendant is a Limited Liability Company organized and existing under the laws of

14    California. Defendant’s headquarters and principle place of business is at 5310 Beethoven Street, Los

15    Angeles, CA 90066. Defendant manufactures, advertises, markets, distributes, and/or sells Libido-Max to

16    tens of thousands of consumers in California and throughout the United States.

17                                          FACTUAL ALLEGATIONS
18           13.      Defendant has distributed, marketed, and sold the Libido-Max product on a nation-wide

19    basis. Libido-Max is sold at a variety of grocery chains and low cost retailers, including CVS and

20    Walgreens. Libido-Max is available in packages of 30 and 75 soft-gel tablets. Plaintiff purchased a

21    package containing soft-gel tablets for approximately $18.00. The Libido-Max package prominently

22    displays Defendant’s representation that the Libido-Max ingredient “L-arginine” may be able to help

23    men generate and maintain erections, and the representations that Libido-Max “ENHANCE(S) DRIVE

24    AND DESIRE,” “INCREASE[S] BLOOD FLOW,” and allows its users to enjoy “LONGER

25    PERFORMANCE & STAMINA.”.

26           14.      Defendant aggressively and uniformly represented, via its nation-wide advertising efforts,

27    and on its product packaging, that Libido-Max is able to provide its users with various benefits relating to

28    sexual health and performance (e.g. “generating and maintaining erections,” longer sexual performance

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 1    and stamina, enhanced sexual drive and desire, “FAST-ACTING” results, etc.). See product label,

 2    attached as Exhibit “A.” The product label also warrants that Libido-Max, “supports a strong, healthy

 3    libido promoting sexual performance and enjoyment,” Id. As more fully set forth herein, the scientific

 4    evidence regarding the use of the vast majority of the ingredients comprising Libido-Max, taken alone or

 5    in combination with other ingredients, does not provide any of the sexual health and performance
 6    benefits represented by Defendant. Moreover, the minimal amount of remaining ingredients taken by

 7    themselves, or in combination with one another are not sufficient to achieve the results that Defendant

 8    represents.

 9           15.      Defendant has consistently communicated the message to consumers throughout the

10    United States, including California, that Libido-Max strengthens the libido, facilitates the generation and

11    maintenance of erections, and leads to longer sexual performance and stamina. Libido-Max does not

12    produce any of these results. Defendant’s claims regarding the sexual health and performance benefits of

13    Libido-Max, as well as its claim that Libido-Max is “FAST-ACTING” are false, misleading and

14    deceptive. Not only does Libido-Max fail to provide the advertised benefits in a “fast-acting” manner,

15    Libido-Max does not provide its users with any of these benefit at any point.

16           16.      According to the label on the Libido-Max package, Libido-Max is comprised of certain

17    primary ingredients including, “Horny Goat Weed,” “Maca powder,” “L-arginine,” “Ashwagandha

18    powder,” “Tribulus extract,” and “Soy.” See product label, attached as Exhibit “A.” As will be discussed

19    below, reliable scientific research indicates that these ingredients are not able to produce the sexual

20    health and performance benefits that Defendant advertises. Moreover, soy may actually have an adverse

21    impact on the sexual potency of males who consume it.

22           17.      Scientific research has shown that Horny Goat Weed is an ineffective means of addressing

23    erectile dysfunction. Popular medications such as Viagra treat erectile dysfunction by inhibiting cGMP-

24    phosphodiestrase-5       (PDE5).      71(9)     J.       Nat.   Prod.      1513-1517       (2008).     See

25    http://pubs.acs.org/doi/full/10.1021/np800049y. In 2008, researchers found that the inhibitory potency of

26    icariin, the active compound in Horny Goat Weed, is 80 times lower than that of Viagra. Id.

27           18.      The Libido-Max label indicates that “Horny Goat Weed” is part of a group of ingredients

28    that make up the product’s “Stamina and Extending Blend.” See product label, attached as Exhibit “A.”

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 1    The name of this ingredient blend suggests that the ingredients included in the blend are designed to

 2    interact with one another in a manner that leads to greater sexual stamina, extends the duration of a man’s

 3    sexual experience, and/or allows a man to generate or maintain an erection. There is no evidence to

 4    suggest that Horny Goat Weed increases sexual stamina or the duration of its users’ sexual experiences.

 5    Moreover, as the 2008 study shows, Horny Goat Weed possesses .0125% of the potency of Viagra.

 6    Therefore it can not be said that consuming Horny Goat Weed is an effective means of generating or

 7    maintaining erections. Scientific research clearly indicates that including Horny Goat Weed in Libido-

 8    Max has no impact on the product’s ability to achieve the sexual health and performance benefits that

 9    Defendant advertises.

10           19.      It is difficult to imagine why Defendant chose to add Maca powder to Libido-Max’s

11    Stamina and Extension Blend, as a 2010 review of the impact of Maca root revealed that the ingredient

12    has little effect on sexual function. 10(44) BMC Complementary and Alternative Medicine

13    (2010). See http://www.biomedcentral.com/1472-6882/10/44.        Defendant’s decision to include this

14    ingredient might be based on a legend that ancient Incan warriors would consume Maca root before

15    battle, resulting in a drastic increase in their combat skills and a strengthening of their libidos. See,

16    e.g., http://www.envirohealthtech.com/maca_article.htm. In any case, scientific evidence clearly

17    demonstrates that Maca powder does not possess the ability to increase the sexual stamina or strengthen

18    the libidos of those who consume it, any more than it possess the ability to provide those who consume it

19    with the combat skills of a legendary Incan warrior.

20           20.      As discussed above, the Libido-Max package prominently displays a claim that L-

21    arginine, an ingredient in the product’s “Power Max” blend, may assist men in generating and

22    maintaining erections. See product label, attached as Exhibit “A.” Medications such as Viagra and Cialis

23    increase Nitric oxide (NO) levels in the body. Nitric oxide functions by relaxing the muscles that cause

24    erections to occur. Although L-arginine can be enzymatically processed to increase NO levels in some

25    circumstances, by itself L-arginine does not increase the activity of NO synthase activity, as Viagra and

26    Cialis do. In a 2003 study, researchers found that subjects who were given L-arginine by itself did not

27    demonstrate an improvement in erectile function. 29 J. Sex & Marital Therapy 207 (2003). Although

28    Defendant includes L-arginine in its Power Max ingredient blend, there is no evidence that consuming L-

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 1    arginine will allow men to maximize their sexual “power” or functionality, even if these men consume

 2    this ingredient in conjunction with NADH (the second ingredient in the Power Max Blend).

 3           21.      Furthermore, Libido-Max includes “Tribulus extract” in its Libido Boosting Blend, and

 4    Ashwagandha powder in its Stamina and Extending Blend. See product label, attached as Exhibit “A.”

 5    However, according to the NYU Langone Medical Center, there is no real evidence that these ingredients

 6    improve sexual function in men. See http://www.med.nyu.edu/content?ChunkIID=21720.

 7           22.      In addition, Libido-Max contains an unspecified amount of soy. See product label,

 8    attached as Exhibit “A.” The NYU Langone Medical Center warns that soy may reduce testosterone

 9    levels in men. See http://www.med.nyu.edu/content?ChunkIID=21720. Not only does Libido-Max

10    contain ingredients that do not provide the sexual health and performance benefits that Defendant

11    advertises, Libido-Max contains an ingredient that may even reduce the testosterone levels of the very

12    men who rely on this product to enhance the sexual potency.

13           23.      Defendant separates most of Libido Max’s ingredients (1841 mg.) into the three individual

14    blends (i.e. the Stamina and Extending Blend, the Libido Boosting Blend, and the Power Max Blend).

15    However, the remaining 10 mg. of the product’s primary ingredients comprise what Defendant refers to

16    as the “Bioperine Complex.” The Bioperine Complex’s ingredients represent a mere .0005% of Libido-

17    Max’s primary ingredients. Such an infinitesimal portion of ingredients will not produce the results that

18    Defendant advertises. This reality remains true, even if the Bioperine Complex is consumed in

19    conjunction with the ingredient blends that make up Libido-Max, as many of these blends contain

20    ingredients that are scientifically proven to have no sexual health and performance benefits.

21           24.      Although Defendant represents that Libido-Max can enhance the sexual stamina and

22    performance of its users, assist its users in achieving and maintaining erections, strengthen the libidos of

23    its users, and increase the sexual enjoyment of its users, as discussed above, reliable scientific research

24    reveals that many of the product’s primary ingredients do not produce results that validate these

25    representations. The fact that many of the primary ingredients of Libido-Max are not able to achieve the

26    results that Defendant advertises when consumed individually, or in conjunction with one another,

27    demonstrates the inefficacy of this product. Furthermore, Libido-Max contains an unspecified quantity of

28    soy, which may actually decrease the testosterone levels of the men who consume it.

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 1             25.      Plaintiff and Class members have been and will continue to be deceived or misled by

 2    Defendant’s deceptive claims regarding the alleged sexual health and performance benefits of using

 3    Libido-Max. Plaintiff purchased and consumed Libido-Max during the Class period and in doing so, read

 4    and considered the sexual health and performance benefit representations on the Libido-Max product

 5    packaging and based his decisions to purchase Libido-Max based on these claims. Plaintiff based his

 6    purchase decision in large part on the representation that Libido-Max would enhance his sexual

 7    performance and enjoyment. Defendant’s claim that using Libido-Max would indeed “improve [his]

 8    sexual performance and enjoyment” was a material factor in influencing his decision to purchase and use

 9    Libido-Max. See product label, attached as Exhibit “A.” Plaintiff would not have purchased Libido-Max

10    had he known that the product does not provide the represented enhanced sexual performance and

11    enjoyment. Representative Product Packaging Labels are attached as Exhibit, “A”.

12             26.      As a result, of Defendant’s representations regarding the sexual health and performance

13    benefits of Libido-Max, Plaintiff and the Class members have been damaged by their purchases of

14    Libido-Max and have been deceived into purchasing a product that they believed, based on Defendant’s

15    representations, would allow them to enjoy an enhanced sexual experience, when in fact, it does not.

16             27.      Defendant has reaped enormous profits from its false marketing and sale of the Libido-

17    Max.

18                                    CLASS DEFINITION AND ALLEGATIONS
19             28.      Plaintiff seeks certification of a Class pursuant to Cal. Civ. Pro. §382 which Class is

20    defined as follows:

21                           Nation-wide Class Action
                             All consumers who purchased Libido-Max in the
22                           United States, within the applicable statute of
                             limitations, for personal use until the date notice is
23
                             disseminated.
24
                             Excluded from this Class is Defendant and its
25                           officers, directors, and employees, and those who
                             purchased Libido-Max for the purpose of resale.
26

27

28

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 1            29.      The members of the Class are so numerous that joinder is impractical. The Class consists

 2    of thousands of members, the identity of whom is within the knowledge of and can be ascertained only

 3    by resort to Defendant’s records and the records of retailers who sell Defendant’s products.

 4            30.      The claims of the representative Plaintiff are typical of the claims of the Class in that the

 5    representative Plaintiff, like all Class members, paid for a supplement that had no value, did not provide

 6    the benefits or claims as advertised and has been harmed in the amount of the purchase price of the

 7    product. The factual basis of the misconduct is common to all Class Members as all Class Members saw,

 8    reviewed and relied upon the representations made on the product packaging in order to make an

 9    informed purchase.

10            31.      There numerous questions of law and fact common to the Class and those common

11    questions predominate over any questions affecting only individual Class members.

12            32.      whether the claims discussed above are true, or are misleading, or objectively reasonably

13    likely to deceive;

14                     (a)      whether Defendant’s alleged conduct violates public policy;

15                     (b)      whether the alleged conduct constitutes violations of the laws

16    asserted;

17                     (c)      whether Defendant engaged in false or misleading advertising;

18                     (d)      whether Plaintiff and Class members have sustained monetary loss and the proper

19    measure of that loss; and

20                     (e)      whether Plaintiff and Class members are entitled to other appropriate remedies,

21    including corrective advertising and injunctive relief.

22            28.      Typicality. Plaintiff’s claims are typical of the claims of the members of the Class
23    because, inter alia, all Class members were injured through the uniform misconduct described above and

24    were subject to Defendant’s deceptive sexual health and performance benefit claims that accompanied

25    each and every bottle of Libido-Max that Defendant sold. Plaintiff is advancing the same claims and

26    legal theories on behalf of himself and all members of the Class.

27            29.      Adequacy of Representation. Plaintiff will fairly and adequately protect the interests of
28    the members of the Class. Plaintiff has retained counsel experienced in complex consumer class action

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 1    litigation, and Plaintiff intends to prosecute this action vigorously.         Plaintiff has no adverse or

 2    antagonistic interests to those of the Class.

 3            30.      Superiority. A class action is superior to all other available means for the fair and
 4    efficient adjudication of this controversy. The damages or other financial detriment suffered by

 5    individual Class members is relatively small compared to the burden and expense that would be entailed

 6    by individual litigation of their claims against Defendant. It would thus be virtually impossible for

 7    Plaintiff and Class members, on an individual basis, to obtain effective redress for the wrongs done to

 8    them. Furthermore, even if Class members could afford such individualized litigation, the court system

 9    could not. Individualized litigation would create the danger of inconsistent or contradictory judgments

10    arising from the same set of facts. Individualized litigation would also increase the delay and expense to

11    all parties and the court system from the issues raised by this action. By contrast, the class action device

12    provides the benefits of adjudication of these issues in a single proceeding, economies of scale, and

13    comprehensive supervision by a single court, and presents no unusual management difficulties under the

14    circumstances here.

15            31.      The Class also may be certified because Defendant acted or refused to act on grounds

16    generally applicable to the Class thereby making appropriate final declaratory and/or injunctive relief

17    with respect to the members of the Class as a whole.

18            32.      Plaintiff seeks preliminary and permanent injunctive and equitable relief on behalf of the

19    entire Class, on grounds generally applicable to the entire Class, to enjoin and prevent Defendant from

20    engaging in the acts described, and requiring Defendant to provide full restitution to Plaintiff and Class

21    members.

22            33.      Unless a Class is certified, Defendant will retain monies received as a result of its conduct

23    that were taken from Plaintiff and Class members. Additionally, unless a Class-wide injunction is issued,

24    Defendant will continue to commit the violations alleged, and the members of the Class and the general

25    public will continue to be misled.

26
                                               FIRST CAUSE OF ACTION
27                              (Violation of Business & Professions Code §17200, et seq.)
28

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 1            34.        Plaintiff repeats and re-alleges the allegations contained in the paragraphs above, as if

 2    fully set forth herein.

 3            35.        Plaintiff brings this claim on behalf of himself and on behalf of the Class. As alleged

 4    herein, Plaintiff has suffered injury in fact and lost money or property as a result of Defendant’s conduct

 5    because he purchased Libido-Max in reliance on Defendant’s sexual health and performance claims,

 6    including inter alia, that Libido-Max:

 7

 8                      “Enhance[s] drive and desire;”
 9                      “increases blood flow;”
10                      allows for “longer performance and stamina;”
11                      is “fast-acting;”
12                      that consuming L-arginine may improve one’s ability to generate and maintain an
13                       erection; and

14                      that consuming Libido-Max will lead to “a strong, healthy libido promoting sexual
15                       performance and enjoyment,”

16            (See Exhibit, “A”) but Plaintiff did not receive “fast-acting” benefits. Plaintiff did not receive any

17    benefits at all.

18            36.        The Unfair Competition Law, Business & Professions Code §17200, et seq. (“UCL”), and

19    similar laws in other states, prohibit any “unlawful,” “fraudulent” or “unfair” business act or practice and

20    any false or misleading advertising.           In the course of conducting business, Defendant committed

21    unlawful business practices by, inter alia, making the above referenced claims in paragraph 63 and as

22    alleged throughout herein (which also constitutes advertising within the meaning of §17200) and

23    omissions of material facts related to the numerous scientific studies which demonstrate no sexual health

24    and performance benefits derived from the consumption of many of the primary ingredients present in

25    Libido-Max, and violating Civil Code §§1572, 1573, 1709, 1711, 1770 and Business & Professions Code

26    §§17200, et seq., 17500, et seq., and the common law.

27            37.        Plaintiff and the Class reserve the right to allege other violations of law, which constitute

28    other unlawful business acts or practices. Such conduct is ongoing and continues to this date.

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 1            38.      Defendant’s actions also constitute “unfair” business acts or practices because, as alleged

 2    above, inter alia, Defendant engaged in false advertising, misrepresented and omitted material facts

 3    regarding Libido-Max, and thereby offended an established public policy, and engaged in immoral,

 4    unethical, oppressive, and unscrupulous activities that are substantially injurious to consumers.

 5            39.      As stated in this Complaint, Plaintiff alleges violations of consumer protection, unfair

 6    competition and truth in advertising laws in California and other states, resulting in harm to consumers.

 7    Defendant’s acts and omissions also violate and offend the public policy against engaging in false and

 8    misleading advertising, unfair competition and deceptive conduct towards consumers. This conduct

 9    constitutes violations of the unfair prong of Business & Professions Code §17200, et seq.

10            40.      There were reasonably available alternatives to further Defendant’s legitimate business

11    interests, other than the conduct described herein.

12            41.      Business & Professions Code §17200, et seq. also prohibits any “fraudulent business act

13    or practice.”

14            42.      Defendant’s actions, claims, nondisclosures and misleading statements, as more fully set

15    forth above, were also false, misleading and/or likely to deceive the consuming public within the

16    meaning of Business & Professions Code §17200, et seq.

17            43.      Plaintiff and other members of the Class have in fact been deceived as a result of their

18    reliance on Defendant’s material representations and omissions, which are described above. This reliance

19    has caused harm to Plaintiff and other members of the Class who each purchased Libido-Max. Plaintiff

20    and the other Class members have suffered injury in fact and lost money as a result of these unlawful,

21    unfair, and fraudulent practices.

22            44.      As a result of its deception, Defendant has been able to reap unjust revenue and profit.

23            45.      Unless restrained and enjoined, Defendant will continue to engage in the above-described

24    conduct. Accordingly, injunctive relief is appropriate.

25            46.      Plaintiff, on behalf of himself, all others similarly situated, and the general public, seeks

26    restitution and disgorgement of all money obtained from Plaintiff and the members of the Class collected

27    as a result of unfair competition, an injunction prohibiting Defendant from continuing such practices,

28

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 1    corrective advertising and all other relief this Court deems appropriate, consistent with Business &

 2    Professions Code §17203.

 3

 4                                           SECOND CAUSE OF ACTION
                                   (Violations of the Consumers Legal Remedies Act –
 5                                               Civil Code §1750 et seq.)
 6            47.      Plaintiff repeats and re-alleges the allegations contained in the paragraphs above, as if

 7    fully set forth herein.

 8            48.      Plaintiff brings this claim individually and on behalf of the Class.

 9            49.      This cause of action is brought pursuant to the Consumers Legal Remedies Act, California

10    Civil Code §1750, et seq. (the “Act”) and similar laws in other states. Plaintiff is a “consumer” as defined

11    by California Civil Code §1761(d). Libido-Max is a “good” within the meaning of the Act.

12            50.      Defendant violated and continues to violate the Act by engaging in the following practices

13    proscribed by California Civil Code §1770(a) in transactions with Plaintiff and the Class which were

14    intended to result in, and did result in, the sale of the Libido-Max product:

15            (5)      Representing that [Libido-Max has]. . . characteristics, . . . uses [and] benefits . . . which

16                     [it does] not have . . . .

17                                                         *        *    *

18            (7)      Representing that [Libido-Max is] of a particular standard, quality or grade . . . [when it

19                     is] of another.

20                                                         *        *    *

21            (9)      Advertising goods . . . with intent not to sell them as advertised.

22                                                         *        *    *

23            (16)     Representing that [Libido-Max has] been supplied in accordance with a previous

24                     representation when [it has] not.

25

26            51.      Defendant violated the Act by representing and failing to disclose material facts on the

27    Libido-Max labeling and packaging and associated advertising, as described above, when it knew, or

28

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 1    should have known, that the representations were false and misleading and that the omissions were of

 2    material facts it was obligated to disclose.

 3            52.      Pursuant to §1782(d) of the Act, Plaintiff and the Class seek a court order enjoining the

 4    above-described wrongful acts and practices of Defendant and for restitution and disgorgement.

 5            53.      If Defendant fails to rectify or agree to rectify the problems associated with the actions

 6    detailed above and give notice to all affected consumers within 30 days of the date of written notice

 7    pursuant to §1782 of the Act, Plaintiff will amend this complaint to add claims for actual, punitive and

 8    statutory damages, as appropriate. See Exhibit “B” – CLRA warning letter.

 9            54.      Defendant’s conduct is fraudulent, wanton and malicious.

10
                                             THIRD CAUSE OF ACTION
11                                           (Breach of Express Warranty)
12            55.      Plaintiff repeats and re-alleges the allegations contained in the paragraphs above, as if

13    fully set forth herein.

14            56.      Plaintiff brings this claim individually and on behalf of the Class.

15            57.      The Uniform Commercial Code section 2-313 provides that an affirmation of fact or

16    promise, including a description of the goods, becomes part of the basis of the bargain and creates an

17    express warranty that the goods shall conform to the promise and to the description.

18            58.      At all times, California and other states have codified and adopted the provisions in the

19    Uniform Commercial Code governing the express warranty of merchantability.

20            59.      As discussed above, Defendant expressly warranted on each and every label of Libido-

21    Max that the product lived up to the represented sexual health and performance benefits described herein

22    and listed on the product packaging and labels. The sexual health and performance benefit claims made

23    by Defendant are affirmations of fact that became part of the basis of the bargain and created an express

24    warranty that the goods would conform to the stated promise. Plaintiff placed importance on Defendant’s

25    representations.

26            60.      All conditions precedent to Defendant’s liability under this contract have been performed

27    by Plaintiff and the Class.

28            61.      Defendant was provided notice of these issues by, inter alia, the instant Complaint.

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                                        PLAINTIFF’S CLASS ACTION COMPLAINT
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 1              62.    Defendant breached the terms of this contract, including the express warranties, with

 2    Plaintiff and the Class by not providing a product that provided sexual health and performance benefits,

 3    an enhanced ability to achieve and maintain erections, a strengthened libido, or fast-acting results as

 4    represented.

 5              63.    As a result of Defendant’s breach of their contract, Plaintiff and the Class have been

 6    damaged in the amount of the price of the products they purchased.

 7

 8                                              PRAYER FOR RELIEF
 9    Wherefore, Plaintiff prays for a judgment:

10              A.     Certifying the Class as requested herein;

11              B.     Awarding Plaintiff and the proposed Class members damages;

12              C.     Awarding restitution and disgorgement of Defendant’s revenues to Plaintiff and the

13    proposed Class members;

14              D.     Awarding actual, punitive and statutory damages to Plaintiff and the proposed Class

15    members;

16              E.     Awarding declaratory and injunctive relief as permitted by law or equity, including:

17    enjoining Defendant from continuing the unlawful practices as set forth herein, and directing Defendant

18    to identify, with Court supervision, victims of its conduct and pay them all money they are required

19    to pay;

20              F.     Ordering Defendant to engage in a corrective advertising campaign;

21              G.     Awarding attorneys’ fees and costs;

22              H.     Providing such further relief as may be just and proper.

23

24                                           DEMAND FOR JURY TRIAL
25              Plaintiff hereby demands a trial of her claims by jury to the extent authorized by law.

26

27

28

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                             EXHIBIT A



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                             EXHIBIT B



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 October 17, 2014

                                               VIA CERTIFIED MAIL (RETURN RECEIPT)
                                                     (RECEIPT NO. ___________________)

 Chief Executive Officer / President
 Applied Nutrition
 5310 Beethoven Street
 Los Angles, California 90066

        Re:     Vigil v. Applied Nutrition

 Dear Sir/Madame:

         Our law firm and Carpenter Law Group represents Ryan Vigil and all other similarly
 situated California Residents in an action against Applied Nutrition arising out of, inter alia,
 misrepresentations, either express or implied to consumers that its Libido-Max line of dietary
 supplements, “enhances [sexual] drive and desire,” “supports a strong, healthy libido,” and
 promotes “sexual performance and enjoyment.” Moreover, the packaging of Libido-Max states
 that the product is a “Doctor Developed Male Libido Formula that works FAST.” Applied
 Nutrition has also represented, on the packaging of Libido-Max, that, “L-arginine may dilate
 blood vessels helping to enhance penile blood flow.”

         As you are aware, Applied Nutrition warranted on its product labeling that the claimed
 benefits can be received through the recommended consumption of its Libido-Max product. Mr.
 Vigil and others similarly situated purchased the Libido-Max products unaware that the
 representations found on the Products’ labels and packages are false. Several clinical studies
 have found no causative link between the ingredients in the Libido-Max products and improved
 sexual desire, function, or enjoyment. The full claims, including the facts and circumstances
 surrounding these claims, are detailed in the Class Action Complaint, a copy of which is
 enclosed and incorporated by this reference.

        Applied Nutrition’s representations are false and misleading and constitute unfair
 methods of competition and unlawful, unfair, and fraudulent acts or practices, undertaken by
 Applied Nutrition with the intent to result in the sale of the Libido-Max products to the
 consuming public. .

         This practice constitutes a violation of California Civil Code §1770(a) under, inter alia,
 the following subdivisions:

                (5)    Representing that [Libido-Max has] . . . characteristics, . . . uses [or]
                       benefits. . . which [it does] not have.

 ***

                (7)    Representing that [Libido-Max is] of a particular standard, quality or
                       grade, . . . if [it is] of another.




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 ***

                (9)     Advertising goods . . . with the intent not to sell them as advertised.

 ***

                (16)    Representing that [Libido-Max has] been supplied in accordance with a
                        previous representation when [it has] not.

 California Civil Code §1770(a)(5)-(16).

        Applied Nutrition’s representations also constitute violations of California Business and
 Professions Code §17200, et seq., and a breach of express warranties.

         While the Complaint constitutes sufficient notice of the claims asserted, pursuant to
 California Civil Code §1782, we hereby demand on behalf of our clients and all other similarly
 situated California Residents that Applied Nutrition immediately correct and rectify this
 violation of California Civil Code §1770 by ceasing the misleading marketing campaign and
 ceasing dissemination of false and misleading information as described in the enclosed
 Complaint. In addition, Applied Nutrition should offer to refund the purchase price to all
 consumer purchasers of these Products, plus reimbursement for interest, costs, and fees.

         Plaintiffs will, after 30 days from the date of this letter, amend the Complaint without
 leave of Court, as permitted by California Civil Code §1782, to include claims for actual and
 punitive damages (as may be appropriate) if a full and adequate response to this letter is not
 received. These damage claims also would include claims under already asserted theories of
 unlawful business acts, as well as the claims under the Consumers Legal Remedies Act. Thus, to
 avoid further litigation, it is in the interest of all parties concerned that Applied Nutrition address
 this problem immediately.

         Applied Nutrition must undertake all of the following actions to satisfy the requirements
 of California Civil Code §1782(c):

        1.     Identify or make a reasonable attempt to identify purchasers of the subject
 Products who reside in California;

        2.     Notify all such purchasers so identified that upon their request, Applied Nutrition
 will offer an appropriate correction, replacement, or other remedy for its wrongful conduct,
 which can include a full refund of the purchase price paid for such products, plus interest, costs
 and fees;

       3.      Undertake (or promise to undertake within a reasonable time if it cannot be done
 immediately) the actions described above for all Libido-Max purchasers who so request; and




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         4.     Cease from expressly or impliedly representing to consumers that these products
 are effective at improving or enhancing sexual function, performance or enjoyment. Inlcuding,
 refrain from making representations that Libido-Max, “enhances [sexual] drive and desire,”
 “supports a strong, healthy libido,” and promotes “sexual performance and enjoyment.” Further,
 discontinue representing that the product is a “Doctor Developed Male Libido Formula that
 works FAST and that, “L-arginine may dilate blood vessels helping to enhance penile blood
 flow.”.

        We await your response.

                                       Very truly yours,



                                      James R. Patterson
                                       For the Firm

 Enclosures




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